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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BACKPAGE.COM, LLC,

                   Plaintiff,                        No. 1:15-cv-06340

       v.                                            Judge John J. Tharp, Jr.

THOMAS J. DART, Sheriff of Cook County,              Magistrate Judge Young B. Kim
Illinois,
                                                     FIRST AMENDED COMPLAINT
                   Defendants.                       FOR INJUNCTIVE AND
                                                     DECLARATORY RELIEF




       For its complaint, Plaintiff Backpage.com, LLC (“Backpage.com”) alleges as follows:

                                       INTRODUCTION

       1.      This is an action pursuant to 42 U.S.C. §§ 1983 and 1988, and the Declaratory

Judgment Act, 28 U.S.C. § 2201, to enjoin, and declare unlawful the actions of Cook County

Sheriff Thomas J. Dart (“Sheriff Dart”) demanding that credit card associations sever business

relationships with Backpage.com, LLC and discontinue allowing use of their cards for purchases

on the Backpage.com website, thereby effecting an informal extralegal prior restraint of speech

without due process in violation of the First and Fourteenth Amendments and the

Communications Decency Act (“CDA”), 47 U.S.C. § 230.

       2.      For over six years, Sheriff Dart has pursued a campaign against online classified

advertising websites—first Craigslist and then Backpage.com—demanding they shut down

portions of their sites for adult-oriented ads posted by users. At every turn, Sheriff Dart has been

stymied by the Constitution, federal law, and court decisions holding that such ads are protected

speech and that websites are immune from state-law civil or criminal liability.
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       3.      In 2009, Sheriff Dart sued Craigslist, alleging the website was a public nuisance

and facilitated prostitution, but this Court summarily dismissed the action. Dart v. Craigslist,

Inc., 665 F. Supp. 2d 961 (N.D. Ill. 2009). When, in 2010, Craigslist caved in to quasi-official

pressure and removed its “adult services” category, Sheriff Dart shifted his focus to

Backpage.com, threatening criminal investigations and prosecution unless it also eliminated its

adult category and escort ads on the site. Consistent with Backpage.com’s longstanding efforts

to preclude improper ads and assist law enforcement, it sought to work with Sheriff Dart’s office

on screening and security measures, including requiring the use of credit cards for adult ads,

which Sheriff Dart requested at the time and Backpage.com has long done. But Backpage.com

refused to capitulate to the Sheriff’s demands for censorship.

       4.      Sheriff Dart has acknowledged that cases interpreting federal law preclude his

efforts to censor Backpage.com, but decries the law as “antiquated,” “nonsensical,” and an

“absurdity.” Thus, he decided to go “out-of-the-box” by disregarding the law and instead

pressuring credit card companies—American Express, Visa and MasterCard—to cut off use of

their cards for purchases on Backpage.com, with the aim of eliminating the website’s ability to

do business altogether. Because of Sheriff Dart’s officious “demand” that the card companies

“defund” and “cease and desist” dealings with Backpage.com, Visa and MasterCard blocked use

of their cards for any and all purchases on the website. American Express did the same for

purchases in the adult category.

       5.      Sheriff Dart’s actions are an unconstitutional prior restraint of speech without

legal authority or due process. See Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963).      The

First Amendment precludes a government official from banning a forum of speech simply

because he dislikes it. Prior restraints are presumptively unconstitutional and can be imposed



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only in the most exigent of circumstances, requiring the least restrictive means to further a

compelling state interest and requisite procedural safeguards. Sheriff Dart’s actions do not come

close to passing constitutional muster.

       6.      Sheriff Dart’s actions to cripple Backpage.com and all speech through the site are

an especially pernicious form of prior restraint. He has achieved his purpose through false

accusations, innuendo, and coercion, whereas, if he had brought suit directly or Cook County had

attempted to pass a law to shut down the website, Backpage.com would have had a fair

opportunity to respond and defeat such efforts, given well-established law.          Backpage.com

received no notice or opportunity to be heard before card services were terminated. Moreover,

Sheriff Dart’s actions have not only infringed Backpage.com’s rights to publish and distribute

speech, but the rights of millions of the website’s users to post and receive protected speech.

       7.      Accordingly, in this action, Backpage.com seeks declaratory and injunctive relief,

including a declaration that Sheriff Dart’s actions are unlawful and unconstitutional; an

injunction requiring him to cease such actions and retract his letters to the credit card

associations; and a preliminary injunction returning the parties to the status quo before the credit

card companies precipitously terminated services.

                                            PARTIES

       8.      Plaintiff Backpage.com, LLC is a limited liability company, organized and

existing under the laws of Delaware, with its principal place of business in Dallas, Texas.

Backpage.com operates an online classified advertising service available to the public in all fifty

states and the District of Columbia.

       9.      Defendant Thomas J. Dart is, and was at all times relevant to this Complaint, the

duly elected Sheriff of Cook County, Illinois. He is the highest-ranking law enforcement official



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for the County, whose powers and duties include acting as the “conservator of the peace” in the

County to “prevent crime and maintain the safety and order of the citizens,” as well as powers to

arrest and refer offenders for prosecution. 55 ILCS 5/3-6021. Sheriff Dart is responsible for

establishing and implementing policies for the County as related to his duties for public safety

and policing. Sheriff Dart is sued in his official and personal capacities. MCI Telecomm. Corp.

v. Illinois Bell Tel. Co., 222 F.3d 323, 345 (7th Cir. 2000).

                                JURISDICTION AND VENUE

       10.     This action arises under the United States Constitution, particularly the First and

Fourteenth Amendments, as well as the Civil Rights Act, 42 U.S.C. §§ 1983 and 1988, and the

Communications Decency Act, 47 U.S.C. § 230.

       11.     This Court has original jurisdiction over these federal claims pursuant to 28

U.S.C. §§ 1331 and 1343.

       12.     This Court has authority to grant the requested declaratory judgment pursuant to

28 U.S.C. §§ 2201 and 2202 and Federal Rule of Civil Procedure 57.

       13.     This Court has authority to issue the requested injunctive relief pursuant to

42 U.S.C. § 1983 and Federal Rule of Civil Procedure 65.

       14.     This Court has authority to award attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988.

       15.     Venue is proper in the United States District Court for the Northern District of

Illinois pursuant to 28 U.S.C. § 1391(b) because the events giving rise to the claims occurred

within this District and, on information and believe, the Defendant resides in this District.




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                                 FACTUAL ALLEGATIONS

   A. Background Regarding Backpage.com.

       16.     Backpage.com     is   an   online   classified   advertising   service,   located   at

www.backpage.com, which began providing service in 2004.

       17.     Backpage.com is available to users throughout the United States and is organized

geographically by states and municipalities. Thus, in Illinois for example, users can post and

review ads for Bloomington, Carbondale, Chambana, Chicago, Decatur, La Salle County,

Mattoon, Peoria, Rockford, Springfield, and/or Western Illinois.

       18.     Users of Backpage.com may post and review ads in a number of categories (e.g.,

local places, community, buy/sell/trade, automotive, musician, rentals, real estate, jobs, dating,

adult and services) and subcategories.        Users post over six million ads every month.

Backpage.com is the second-largest classified ad website in the United States, after Craigslist.

       19.     Users provide all the content for ads they post on Backpage.com using an

automated interface. Backpage.com does not dictate or require any content, although it does

block and remove user-supplied content (discussed below).

       20.     Users may post individual ads for free in most categories, although up to July 6,

2015, Backpage.com charged for certain ads and services. For example, Backpage.com charged

$5-$17 for users to post in the adult category and $1 for dating ads, with charges payable by

major credit or debit cards. These charges discouraged abusive posting and provided data to help

track users engaged in illegal activities. Indeed, law enforcement officials, including Sheriff

Dart, have urged that classified ad websites such as Backpage.com should require payment by

credit cards because of the user information this provides.




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       21.        For ads of all types, until July 6, 2015, Backpage.com also charged users for ads

posted nationally or in multiple markets, and for more prominent or repeat-ad placement.

       22.        The three major credit card companies—American Express, Visa and

MasterCard—allowed use of their cards on Backpage.com and permitted banks to provide

merchant services to the company for eleven years, from 2004-2015.

       23.        Backpage.com prohibits illegal content and activity on its website and takes

extensive steps to prevent such misuse, especially to guard against any form of human trafficking

or child exploitation. For example, Backpage.com’s Terms of Use prohibit any ads for illegal

services     or    posting   “any    material   …      that   exploits   minors   in   any   way.”

http://chicago.backpage.com/classifieds/TermsOfUse. Before users can post or view ads in the

adult category, they must affirm they are at least eighteen years old and accept the site’s Posting

Rules, which mirror the prohibitions of the Terms of Use and also state that any suspected child

exploitation will be reported for law enforcement investigation. In addition, every ad on the

website contains a link for users to report if they believe the ad may be improper, emphasizing

that concerns about any possible threat to a child should also be reported to

abuse@backpage.com.

       24.        Links are also provided at many places on the site to the Cybertipline of the

National Center for Missing and Exploited Children (“NCMEC”) and a User Safety page

addressing the issue of human trafficking. In addition, Backpage.com prominently features an ad

from a national support and rescue organization, Children of the Night (“Want Out? National

Free Help 24/7: 1-800-551-1300. Tired of Turning tricks? Pimps Don’t Care. We Do!”).

       25.        Backpage.com also takes extensive measures to police user posts. This multi-

tiered system includes automated filtering and two levels of manual review by over 100



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personnel. The filter scans for more than 100,000 terms, phrases, URLs and email and IP

addresses. The first manual review assesses ads in the adult and dating categories before they

are allowed to appear on the site, and the second level examines nearly every such ad after

posting, as a double-check for potentially improper content. Through its review processes,

Backpage.com blocks or removes over a million ads per month and immediately reports any ad

that may concern child exploitation to NCMEC (approximately 300 per month).

       26.     Backpage.com regularly works with local, state and federal law enforcement

officials in connection with investigations and prosecutions, including responding to subpoenas

and other information requests (most within 24 hours), providing training to law enforcement

officials, and removing and blocking posts at their request. In some instances, Backpage.com

personnel conduct additional Internet research to provide law enforcement further information to

assist in rescuing victims and arresting and prosecuting criminals. Law enforcement officials

often commend Backpage.com for its support and cooperation, and that includes praise from

Cook County officials.

   B. Sheriff Dart’s Crusade Against Online Adult-Oriented Advertising.

       27.     On information and belief, Sheriff Dart began contacting Craigslist in 2007

objecting to its “erotic services” category, which at the time allowed users to post adult-oriented

ads. In March 2009, Sheriff Dart filed a civil action in this Court against Craigslist, Dart v.

Craigslist, Inc., No. 09 C 1385 (N.D. Ill. Mar. 5, 2009), claiming the erotic services section

constituted a public nuisance and seeking an injunction to force Craigslist to eliminate adult-

oriented ads. The Court dismissed the suit under Fed. R. Civ. P. 12(c). It held that Craigslist

was immune from liability under Section 230 of the Communications Decency Act (“CDA”), 47

U.S.C. § 230, which provides that online services cannot be “treated as the publisher or speaker



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of any information provided by another information content provider,” id. § 230(c)(1), i.e., users

who post ads on Craigslist. Dart v. Craigslist, 665 F. Supp. 2d at 961. As the Court stated,

online services do not “cause” postings except “in the sense of providing a place where people

can post,” they “are not culpable for ‘aiding and abetting’ their customers who misuse their

services to commit unlawful acts,” and having an adult services category “is not unlawful in

itself nor does it necessarily call for unlawful content.”       Id. at 966, 968-69.    The Court

concluded:

       Sheriff Dart may continue to use Craigslist’s website to identify and pursue
       individuals who post allegedly unlawful content. But he cannot sue Craigslist for
       their conduct.

Id. at 969 (internal citations and footnote omitted).

   C. After Craigslist Succumbed to Public Pressure Tactics, Sheriff Dart Shifted His
      Crusade to Backpage.com.

       28.       In September 2010, Craigslist shut down its adult services category in response to

public pressure from a group of state attorneys general (after initially resisting the pressure as

improper censorship). Less than a week later, the AGs targeted Backpage.com, and Sheriff Dart

joined, with his office announcing that it had “focused on Backpage.com as the new

battleground.”

       29.       In January 2011, Sheriff Dart’s office wrote Backpage.com stating that it had

been conducting “undercover online investigations” of the website, had determined “the site is

being openly used as a conduit for illegal prostitution activity,” and insisted that Backpage.com

be brought “into legal compliance” by “remov[ing] the Personals and Adults sections of [the]

website.”

       30.       Sheriff Dart’s office wrote Backpage.com again in March and June, 2011,

demanding, among other things, that Backpage.com “[r]equire posts in the Adults section be paid


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using credit cards” and provide customers’ “identifying information to law enforcement agencies

upon request.” Backpage.com responded to the Sheriff’s office by explaining its screening

procedures and cooperation with law enforcement, noting that the website did require payments

by credit or debit cards and routinely provided identifying information from cards in response to

valid law enforcement requests. Following meetings with Backpage.com personnel, the Sheriff’s

office wrote:    “We all came away impressed not only with the work done so far by

[Backpage.com], but also with [your] candor and sincerity ….”

       31.      Nonetheless, in January 2012, Sheriff Dart’s office returned to its demand that

Backpage.com eliminate the adult category, threatening prosecution under Illinois’s human

trafficking statute, 720 ILCS 5/10-9, if Backpage.com did not “immediately cease and desist[].”

Sheriff Dart also made public statements, asserting that “Backpage is a conduit to criminality”

and “need[s] to be held accountable.”

       32.      In January 2014, Sheriff Dart wrote Backpage insisting it respond to a twelve-

page list entitled “Request for Information and Site Modification,” which, among other things,

demanded that Backpage.com “[r]equire user[s] to pay fees with major credit card.”

       33.      In response to Sheriff Dart and other politicians’ demands that it shutter the adult

category on its website, Backpage.com has steadfastly maintained that censorship is not a

solution to human trafficking or child exploitation, but rather that law enforcement and other

authorities should work with websites to prevent, investigate and prosecute criminal activity and

to rescue victims.




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   D. Cases Establish that Escort Ads on Backpage.com Are Protected Speech Under the
      First Amendment and CDA Section 230.

       34.     While Sheriff Dart continued his vendetta, legislatures in three other states—

Washington, Tennessee, and New Jersey—passed criminal laws targeting Backpage.com. In

each instance, federal courts enjoined the laws, finding them unconstitutional under the First

Amendment and preempted by Section 230 of the CDA. Backpage.com, LLC v. McKenna, 881

F. Supp. 2d 1262 (W.D. Wash. 2012); Backpage.com, LLC v. Cooper, 939 F. Supp. 2d 805

(M.D. Tenn. 2013); Backpage.com, LLC v. Hoffman, 2013 WL 4502097 (D.N.J. Aug. 23, 2013).

Noting that escort ads have long been permitted (and escort services are licensed and regulated in

many states), these cases held that the states’ efforts to regulate or effectively block such ads

“would likely chill protected speech.” McKenna, 881 F. Supp. 2d at 1282. The courts rejected

arguments that the laws only prohibited advertisements for illegal transactions and instead found

that they were overbroad and could not survive strict scrutiny. Hoffman, 2013 WL 1249063, at

*8. Further, the laws violated CDA Section 230 because they sought to impose liability on

websites for publishing third-party content, they “would encourage websites either to restrict

speech or to relax their current self-policing,” and Section 230 preempts all state civil and

criminal laws. McKenna, 881 F. Supp. 2d at 1273-75; Cooper, 939 F. Supp. 2d at 825. As the

Tennessee court summarized:

       Child sexual exploitation is an evil that states have an undisputed interest in
       dispelling. However despicable this evil, though, the Constitution stands as a
       shield against broad assaults by states on the rights of their citizens. The
       Constitution tells us that—when freedom of speech hangs in the balance—the
       state may not use a butcher knife on a problem that requires a scalpel to fix.




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Cooper, 939 F. Supp. 2d at 813. In all three cases, the courts ultimately entered permanent

injunctions and awarded Backpage.com attorneys’ fees.         See, e.g., Backpage.com, LLC v.

Cooper, 2013 WL 1249063 (M.D. Tenn. Mar. 27, 2013).

       35.     More recently, a federal court in Massachusetts barred tort claims against

Backpage.com by plaintiffs who claimed they were victimized because of ads that appeared on

the site. Doe v. Backpage.com, LLC, 939 F. Supp. 2d 805 (D. Mass. 2015). Consistent with

Dart v. Craigslist and M.A. v. Village Voice Media Holdings, LLC, 809 F. Supp. 2d 1041 (2011),

the court held Backpage.com immune under Section 230.

   E. Sheriff Dart’s Admissions That He Cannot Censor Backpage.com Under the Law.

       36.     Sheriff Dart is well aware of the federal law and cases—beginning with his own

failed suit against Craigslist—holding that online escort ads are protected speech and

governmental authorities cannot force websites to ban such ads. He has admitted this by railing

that “Courts continue to follow antiquated laws to the point of nonsensical outcomes” and

“absurdity,” and asserting that “Congress is too hamstrung to act” to change “outdated language

in the Communications Decency Act.” See Dart Letter to Charles W. Scharf, CEO of Visa, Inc.

(June 29, 2015), attached hereto as Exhibit B. Indeed, in June 2014, Sheriff Dart joined Senator

Mark Kirk to propose that federal law be changed, publicly asserting their purpose was to

“target” and “combat online advertisers like Backpage.com.”            Senator Kirk’s proposed

legislation was not enacted, and, as reported in the press, presented “thorny free speech

concerns.” See Juan Perez Jr., Kirk joins Cook officials in push to fight Internet sex trade, CHI.

TRIB. (Mar. 24, 2014), http://articles.chicagotribune.com/2014-03-24/news/chi-kirk-joins-cook-

officials-in-push-to-fight-internet-sex-trade-20140324_1_backpage-com-mark-kirk.




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   F. Sheriff Dart’s Alternative Tack to Shut Down Backpage.com By Cutting Off Credit
      Card Services.

       37.     As Sheriff Dart’s spokesman has admitted, “[a]fter the legislative and litigious

efforts failed,” his office decided it “needed to come up with an out-of-the-box idea,” and

“looked to the financial route,” recognizing that transactions on the website “would simply not

be possible if Visa and MasterCard would say ‘no more.’”            Kim Bellware, Credit Card

Companies Abandon Backpage.com Over Sex Trafficking Complaints, Huffington Post (July 1,

2015), http://www.huffingtonpost.com/2015/07/01/backpagecom-credit-cards_n_ 7705708.html.

The Sheriff’s office then “moved ‘full speed ahead’ and devoted a team to working ‘almost full-

time’ on the effort.” Id.

       38.     On June 29, 2015, Sheriff Dart sent letters to the CEOs of Visa and MasterCard in

which he demanded and indicated he sought to compel them to “defund” and “sever ties with

Backpage.com.” His press release about the letters said this expressly:

       SHERIFF DART’S DEMAND TO DEFUND SEX TRAFFICKING COMPELS
       VISA AND MASTERCARD TO SEVER TIES WITH BACKPAGE.COM

Press Release, Cook County Sheriff (July 1, 2015), attached hereto as Exhibit A,

http://www.cookcountysheriff.com/press_page/press_BackPage_07_01_2015.html.

       39.     The letters left no doubt about Sheriff Dart’s demand, his threatened pressure and

the consequences if the card associations did not accede. Writing under his letterhead as Cook

County Sheriff, he insisted the companies “immediately cease and desist from allowing your

credit cards to be used to place ads on … Backpage.com.” See Ex. B (Visa letter); see also Dart

Letter to Ajaypal Banga, President and CEO of MasterCard, Inc. (June 29, 2015), attached hereto

as Exhibit C. He wrote that his office “ha[d] objectively found” that Backpage.com “promote[s]

prostitution and facilitate[s] sex trafficking,” with no support for this statement and despite his



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knowledge the site actively works to prevent trafficking or exploitation and regularly works with

law enforcement (including Sheriff Dart’s office) to combat it. Noting that he is the county

authority “charged with eradicating such trafficking,” the Sheriff not-subtly alluded to the card

associations’ “legal dut[ies]” to file “Suspicious Activity Reports,” suggested they could also be

required “to alert law enforcement authorities” of other possible problems, and made sure his

threat was plain by citing statutes imposing criminal penalties for money laundering, allowing

termination of a financial institution’s status as an insured depository institution, and permitting

investigations and enforcement actions      Sheriff Dart’s letter also made clear he intended to

continue oversight of the card associations by asking each company to identify a contact person

“[w]ithin the next week.” See Exs. B, C. And, Sheriff Dart has stated that the letters were only a

part of a “larger campaign Cook County planned to launch [to] pressure the credit card

companies.” Tierney Sneed, Under Pressure, Major Credit Cards Cut Ties With Backpage.com

Over   Sex    Ads,   Talking    Points   Memo      (July   1,   2015),   http://talkingpointsmemo.

com/news/mastercard-dumps-backpage; see also Aamer Madhani, Backpage.com Thumbs Nose

at Sheriff After Visa, MasterCard Cut Ties, USA TODAY (July 9, 2015) (reporting that Dart wrote

the U.S. Postal Service chief inspector to attempt to block users from buying credits for use on

Backpage.com by mailing checks to the company), http://www.usatoday.com/story/money/

2015/07/09/backpage-free-adult-services-ads-mastercard-visa/29931651/.

       40.     In less than 48 hours, MasterCard and Visa both announced they were terminating

card services and would cease doing business with Backpage.com. Sheriff Dart wrote to the

companies on Monday, June 29, 2015, and, as stated in a press release from his office, “[b]y

Tuesday afternoon, MasterCard agreed to disassociate itself from Backpage, with Visa following

suit Wednesday morning.” See Ex. A.



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       41.    Visa and MasterCard acknowledge they banned use of their cards on

Backpage.com and terminated merchant services to the company because of Sheriff Dart’s

demands and compulsion. In a press statement, MasterCard stated it terminated card services for

Backpage.com because of the Sheriff’s letter, regarding it as having “confirmed” “illegal or

brand-damaging activities.”    Aamer Madhani, Under Pressure, MasterCard Stops Doing

Business with Backpage.com, USA TODAY (July 1, 2015), http://www.usatoday.com/story/

money/2015/06/30/mastercard-ceases-doing-business-backpage/29536177/.          Visa wrote to

Backpage.com’s acquiring bank directing that it could no longer process transactions because

Visa had “received allegations from US law enforcement that the merchant backpage.com is

linked to child prostitution and human trafficking” and had been requested to impose an

“immediate close down.” See also Mathew Zeitlin, Backpage.com Cut Off From Credit Card

System Over Sex Trafficking Claims, BuzzFeed (July 1, 2015), http://www.buzzfeed.

com/matthewzeitlin/backpagecom-cut-off-from-credit-card-networks#.uww892ZwD.

       42.    Backpage.com received notice from its acquiring banks and credit card processors

on July 1 and 2, 2015, that they could no longer process Visa and MasterCard transactions and

were terminating their merchant agreements for Backpage.com effective immediately.

       43.    On information and belief, Sheriff Dart’s office previously contacted American

Express and pressured it to terminate use of its cards on Backpage.com as well. Bellware, Credit

Card Companies Abandon Backpage.com, Huffington Post (July 1, 2015) (“Dart’s office had

previously reached out to American Express, which already complied.”). On April 30, 2015,

American Express informed Backpage.com it was disallowing use of its cards for any purchases

in the adult category of the website.     American Express did not indicate its reason for




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terminating, but Sheriff Dart has since stated that he contacted and caused American Express’s

decision.

       44.      MasterCard has also listed Backpage.com as a terminated merchant on the

Member Alert to Control High-Risk (MATCH) file. This list, maintained jointly by MasterCard

and Visa, prevents processing of credit card payments worldwide for any listed merchant, now

including Backpage.com. Thus, because of Sheriff Dart’s actions, Backpage.com is barred from

credit card services of any of the three largest card companies or any acquiring banks or credit

processing companies.

   G. Effects of Sheriff Dart’s Actions and Coercion of MasterCard and Other Card
      Associations on Backpage.com and Its Users.

       45.      Sheriff Dart’s actions and the credit card companies’ acquiescence affects not

only adult escort ads but also other ads for dating, housing, services, trades, and sales of goods,

among others.     In his zeal to prevent the few improper ads that users may post despite

Backpage.com’s efforts to prevent them, Sheriff Dart has taken it upon himself to eliminate the

website altogether.

       46.      Beginning on July 6, 2015, Backpage.com ceased charging for ads after the credit

card companies terminated as a result of Sheriff Dart’s demands. Backpage.com began offering

users a free promotional code in some areas (“FREESPEECH”) to allow them to post ads free of

charge until Backpage.com can obtain relief for Sheriff Dart’s actions. It later allowed users to

post ads free of charge without inputting a promotional code. Backpage.com took this step

because disrupting or precluding its ability to provide services to users severely harms the

website’s goodwill and users’ rights to post speech on the site.




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       47.     Providing services for free can only be a temporary measure, however. All

publishers need revenues to survive, and the First Amendment precludes coercive government

actions to choke off revenues to silence speech it disfavors. Sheriff Dart’s actions and the

termination of credit card services have also harmed Backpage.com’s efforts to police and

preclude improper ads. Imposing charges and requiring users to pay by credit cards discourages

improper postings and provides information for law enforcement. Without such charges, the

volume of ads (including spam) increases and Backpage.com necessarily must devote resources

and personnel to address these problems, detracting from its efforts to police the website.

                                    CLAIMS FOR RELIEF

                                       COUNT I
                                Prior Restraint of Speech
         (First and Fourteenth Amendments, 47 U.S.C. § 230, and 42 U.S.C. § 1983)

       48.     Backpage.com incorporates all previous paragraphs as if fully set forth herein.

       49.     Backpage.com provides an online forum for speech of millions of users across the

country. Escort advertising and adult-oriented postings are protected speech under the First

Amendment and Section 230 of the Communications Decency Act, as are ads in all of the many

other categories on the Backpage.com website.

       50.     Sheriff Dart and Cook County could not lawfully enact an ordinance to shut down

the Backpage.com website, as such a law would be overbroad and would not survive strict

scrutiny under the First Amendment.           Sheriff Dart also cannot bring suit to shutter

Backpage.com or the adult category under state civil or criminal laws, as he well knows from his

unsuccessful suit rejected in by this Court in Dart v. Craigslist, 665 F. Supp. 2d at 961.

       51.     Sheriff Dart’s actions constitute an extralegal and unconstitutional prior restraint

of speech. As established by Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963), government



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officials cannot censor or chill speech through an informal process of coercive threats or

insinuation.

       52.     Prior restraints of speech are “the essence of censorship,” Near v. Minnesota, 283

U.S. 697, 713 (1931), “the most serious and the least tolerable infringement on First Amendment

rights,” Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976), and “bear[] a heavy

presumption against … constitutional validity.” Bantam Books, 372 U.S. at 70.

       53.     Sheriff Dart’s actions do not fit within any of the narrowly defined exceptions to

the prohibition against prior restraints. See Southeastern Promotions, Ltd. v. Conrad, 420 U.S.

546, 559 (1975).

       54.     Sheriff Dart cannot establish that his actions in demanding that the credit card

companies “defund” Backpage.com were the least restrictive means to accomplish a compelling

state interest. See United States v. Playboy Entertainment Group, Inc., 529 U.S. 803, 813

(2000). If allowed to stand, Sheriff Dart’s actions will eliminate an entire forum for online

speech and millions of permissible and constitutionally protected posts in order to target a

handful that may be unlawful but cannot be detected or blocked.

       55.     Sheriff Dart’s efforts to close down an entire forum for online speech are grossly

overbroad and are governed by no discernable legal standards. City of Lakewood v. Plain Dealer

Pub. Co., 486 U.S. 750, 770 (1988).

       56.     Sheriff Dart’s actions also violate Section 230 of the CDA, 47 U.S.C. § 230, as he

has no right or authority to preclude or seek to prosecute Backpage.com under state law for

publishing third-party content.

       57.     As a direct result of Sheriff Dart’s actions, Backpage.com has suffered and absent

relief from this Court will continue to suffer harm to its business and goodwill, and infringement



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and deprivation of its rights under the Constitution and federal law. Also as a direct result of

Sheriff Dart’s actions, if not remedied, users of Backpage.com have suffered and will continue to

suffer infringement and deprivation of their constitutional rights.

       58.     At all times and for all actions as alleged in this Complaint, Sheriff Dart acted

under color of state law. His actions have resulted in deprivation of rights and privileges secured

by the Constitution and federal laws of Backpage.com and its millions of users. Accordingly,

this Court may and should grant declaratory and injunctive relief, and attorneys’ fees and costs

under 42 U.S.C. §§ 1983 and 1988.

                                        COUNT II
                             Deprivation of Due Process of Law
                 (First and Fourteenth Amendments and 42 U.S.C. § 1983)

       59.     Backpage.com incorporates all previous paragraphs as if fully set forth herein.

       60.     A prior restraint of speech, if otherwise permissible, may be imposed only if it

provides for requisite procedural safeguards to guard against suppressing constitutionally

protected speech. Southeastern Promotions, 420 U.S. at 559; Freedman v. Maryland, 380 U.S.

51, 58 (1965).     Government actions effecting a prior restraint require a prompt judicial

determination of whether speech is unlawful or protected, and, more specifically: (1) “the

burden of instituting judicial proceedings, and of proving that material is unprotected, must rest

on the censor,” (2) “any restraint prior to judicial review can be imposed only for a specified

brief period and only for the purpose of preserving the status quo,” and (3) “a prompt final

judicial determination must be assured.” Southeastern Promotions, 420 U.S. at 560.

       61.     Sheriff Dart’s actions to accomplish ultra vires informal censorship had none of

the procedural safeguards constitutionally required. He did not institute any judicial proceeding

to determine that all speech on Backpage.com is unlawful; indeed, when he filed a proceeding



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against Craigslist six years ago, his arguments were rejected by this Court. Sheriff Dart has not

indicated or proposed that he will file a judicial action to determine the legality of his actions, but

instead has touted that he has achieved his objective extra-judicially. Backpage.com’s only

recourse to obtain a prompt judicial determination is to bring this action and ask the Court to

grant immediate relief.

       62.     And, importantly, Sheriff Dart’s actions and the informal prior restraint he has

caused did not preserve the status quo, but rather destroyed it. The status quo when Sheriff Dart

set out to pursue his “out-of-the-box” unlawful actions was that the credit card companies

allowed use of their cards for purchases on Backpage.com, as they had for over eleven years.

Backpage.com and its users are entitled to appropriate relief from this Court to reinstate the

status quo to remedy Sheriff Dart’s unlawful and unconstitutional actions.

       63.     Sheriff Dart’s actions have deprived Backpage.com due process of law. Sheriff

Dart gave Backpage.com no notice or opportunity to be heard before contacting Visa and

MasterCard to demand they “cease and desist” providing services. Sheriff Dart’s actions have

stigmatized and threaten to preclude Backpage.com from doing business altogether, which

infringes its liberty and property interests under the Fourteenth Amendment.

       64.     As a direct result of Sheriff Dart’s actions, Backpage.com has suffered and absent

relief from this Court will continue to suffer harm to its business and goodwill, and infringement

and deprivation of its constitutional rights. In this regard, too, Sheriff Dart acted under color of

state law, and this Court should grant declaratory and injunctive relief, and attorneys’ fees and

costs under 42 U.S.C. §§ 1983 and 1988.




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                                        COUNT III
             Declaratory Judgment and Preliminary and Permanent Injunctions
                   (28 U.S.C. §§ 2201 and 2202; Fed. R. Civ. P. 57 and 65)

       65.     Backpage.com incorporates all previous paragraphs as if fully set forth herein.

       66.     This action presents an actual case or controversy between Backpage.com and

Sheriff Dart concerning rights under the Constitution and federal law. Declaratory relief is

therefore necessary and appropriate.

       67.     Injunctive relief is necessary and appropriate in this action because Sheriff Dart’s

actions are unconstitutional, violate federal law, and have caused and will continue to cause

irreparable harm to Backpage.com and its users unless enjoined. Sheriff Dart has continued his

campaign to shut down Backpage.com even after succeeding with his demand that Visa and

MasterCard terminate services.

       68.     Immediate injunctive relief is also appropriate and fundamentally important in

this case.   “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.”    Elrod v. Burns, 427 U.S. 347, 373 (1976).

Absent immediate preliminary relief to enjoin and correct Sheriff Dart’s actions, his informal and

extralegal prior restraint may succeed by making it impossible for Backpage.com to continue

doing business and offering its website as a forum for users across the country.

       69.     Accordingly, with this Complaint, Backpage.com is also filing its Motion for

Temporary Restraining Order and Preliminary Injunction, urging that the Court should grant

emergency and immediate relief.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Backpage.com respectfully requests that this Court enter

judgment in Plaintiff’s favor and against Defendant Sheriff Dart and provide the following relief:



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      A.    A temporary restraining order and preliminary injunction granting appropriate

            relief to return the parties to the status quo before Sheriff Dart’s actions to coerce

            and demand that credit card companies terminate use of their cards by users of

            Backpage.com;

      B.    A declaratory judgment stating that Sheriff Dart’s actions are unconstitutional,

            constitute an unlawful prior restraint under the First and Fourteenth Amendments,

            and violate 47 U.S.C. § 230;

      C.    A permanent injunction to preclude Sheriff Dart from taking any actions to

            coerce, threaten, or intimate repercussions directly or indirectly to credit card

            associations,   other   financial   institutions,   or   other   parties   concerning

            Backpage.com;

      D.    An order directing Sheriff Dart to retract his “cease and desist” letters to Visa and

            MasterCard and any other similar communications to other financial institutions

            or other parties, including the United States Postal Service;

      E.    Backpage.com’s costs and expenses of this action, including attorneys’ fees under

            42 U.S.C. § 1988; and

      F.    Such other and further relief as the Court deems just and proper.

DATED: August 9, 2016.
                                    By:     /s/ James C. Grant
                                          James C. Grant
                                          Ambika K. Doran
                                          DAVIS WRIGHT TREMAINE LLP
                                          1201 Third Avenue, Suite 2200
                                          Seattle, WA 98101
                                          Telephone: (206) 622-3150
                                              (pro hac vice)




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                                  Robert Corn-Revere
                                  Ronald G. London
                                  Lisa B. Zycherman
                                  DAVIS WRIGHT TREMAINE LLP
                                  1919 Pennsylvania Ave., N.W., Suite 800
                                  Washington, D.C. 20006
                                  Telephone: (202) 973-4200
                                      (pro hac vice)
                                  Charles H.R. Peters
                                  SCHIFF HARDIN LLP
                                  233 South Wacker Drive, Suite 6600
                                  Chicago, IL 60606
                                  Telephone: (312) 258-5500

                                   Attorneys for Plaintiff




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